Filed 09/05/23                                       Case 23-02064                                                     Doc 3

     EDC.003−650A    Notice of Availability of Bankruptcy Dispute Resolution Program (v.8.14)                  USBC,EDCA



                                 UNITED STATES BANKRUPTCY COURT
                                      Eastern District of California

      NOTICE OF AVAILABILITY OF BANKRUPTCY DISPUTE RESOLUTION PROGRAM

      In re
                                                                                                Bankruptcy Case No.
      David R. Michal
                                                                                                 22−22056 − C
                                                                   Debtor(s).

      Eldena Cross
      et al.
                                                                   Plaintiff(s),
                                                                                           Adversary Proceeding No.
      v.
                                                                                                 23−02064 − C
      David R. Michal

                                                                   Defendant(s).

    NOTICE IS HEREBY GIVEN that, unless otherwise ordered by the judge handling the particular matter, all
    adversary proceedings, contested matters, and other disputes in a bankruptcy case are eligible for referral
    to the Bankruptcy Dispute Resolution Program (BDRP) established by General Order 95−1 except matters
    involving:

                        1. Employment and compensation of professionals;
                        2. Compensation of trustees and examiners;
                        3. Objections to discharge under 11 U.S.C. §727, except where such objections are
                           joined with disputes over dischargeability of debts under 11 U.S.C. §523; and
                        4. Contempt or other types of sanctions.

    Parties have the primary responsibility for initiating employment of BDRP. Parties may elect to use the
    BDRP by submitting an order to the Court in the form of EDC 6−610. In the proposed order, the parties
    themselves select a Resolution Advocate to mediate the matter in dispute.

    Copies of General Order 95−1, BDRP forms, and a list of the names of available Resolution Advocates are
    available from the Clerk's Office. Questions concerning BDRP procedures should be directed to the staff
    assistant to the BDRP Administrator, Kelly Villere at 916−930−4402.

     Dated: 9/5/23                                         FOR THE COURT
                                                           Wayne Blackwelder , Clerk

     I certify that a copy of this notice was returned to the Plaintiff at the time the original summons was issued.

     Dated: 9/5/23                                         By: dpas , Deputy Clerk
